  Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 1 of 10




Exhibit K
Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 2 of 10
Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 3 of 10
      Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 4 of 10



a list of individuals who were involved in that process during the relevant time

period.

       INTERROGATORY NO.17: For each year between 1973 and 1995, please

describe all policies and procedures applicable to traveling overseers regarding: (1)

reporting allegations of child sexual abuse involving congregation members; (2)

"direction regarding judicial matters" that involve allegations of child sexual abuse;

and (3) encouraging and consoling victims of child sexual abuse.

       ANSWER (August 26, 2022): WTNY objects to this Interrogatory in that it

is overbroad as to time and scope. See Doc. 85, p. 7 (Court concluding documents

and information produced after 1992 are irrelevant to demonstrate Plaintiffs'

claims). WTNY further objects to this Interrogatory on the grounds that it is vague

and ambiguous as to the terms "policies and procedures" and "reporting allegations."

WTNY also objects on the grounds that this Interrogatory goes beyond the 25

interrogatory limit provided in Rule 33(a(l), Fed. R. Civ. P. See, e.g., Kleiman v.

Wright, 2020 WL 1666787 (S.D. Fla. April 3, 2020). WTNY additionally objects to

this Interrogatory as violative of the Establishment Clause and Equal Protection

Clause of the United States Constitution by improperly seeking information and

documents that are related to the religious beliefs, faith, custom, practices, and

internal governance or discipline of the Religion because the First Amendment of

the United States Constitution and its Montana analog bar civil courts from

 Defendant Watchtower Bible and Tract Society of New York, Inc.'s First Supplemental Responses to Plaintiffs'
  Second Set of Combined Interrogatories, Requests for Production, and Requests for Admission, and Second
                             Supplemental Responses to Plaintiffs' Third Set - 5
Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 5 of 10
      Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 6 of 10



       AMENDED ANSWER (September 7, 2022):                                    WTNY objects to this

Interrogatory in that it is overbroad as to time and scope. See Doc. 85, p. 7 (Court

concluding documents and information produced after 1992 are irrelevant to

demonstrate Plaintiffs' claims). WTNY further objects to this Interrogatory on the

grounds that it is vague and ambiguous as to the terms "policies and procedures" and

"reporting allegations." WTNY also objects on the grounds that this Interrogatory

goes beyond the 25 interrogatory limit provided in Rule 33(a(l), Fed. R. Civ. P. See,

e.g., Kleiman v. Wright, 2020 WL 1666787 (S.D. Fla. April 3, 2020). WTNY

additionally objects to this Interrogatory as violative of the Establishment Clause

and Equal Protection Clause of the United States Constitution by improperly seeking

information and documents that are related to the religious beliefs, faith, custom,

practices, and internal governance or discipline of the Religion because the First

Amendment of the United States Constitution and its Montana analog bar civil courts

from evaluating or interpreting such religious evidence in order to reach a decision.

See Serbian Eastern Orthodox Diocese for U.S. of America and Canada v.

Milivojevich, 426 U.S. 696, 724-25 (1976). Subject to and without waiving these

objections, WTNY responds as follows:

       (1)      WTNY is unable to answer this Interrogatory subpart as written

because it is unclear what is meant by "reporting allegations" and to whom such

reporting allegedly occurred.

 Defendant Watchtower Bible and Tract Society of New York, Inc.'s First Supplemental Responses to Plaintiffs'
  Second Set of Combined Interrogatories, Requests for Production, and Requests for Admission, and Second
                            Supplemental Responses to Plaintiffs' Third Set - 7
      Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 7 of 10



         (2)    For the years of 1973 to 1995, allegations of any biblical sin, including

child abuse, were addressed Scripturally by the elders in the congregation where the

wrongdoer (sinner) attended. The elders were free to contact their traveling overseer

in order to receive Bible-based guidance if the elders had any questions. WTNY

refers     Plaintiffs      to     documents          bates-numbered            WTNY000280-000301;

WTNY000387-000410; WTNY000507-000560; and documents produced by co­

Defendant WTPA (WTPA028868-028883; WTPA033998-034013; WTPA039465-

39468) along with Acts 26:20; 1 Corinthians 5:5, 11-13; 1 Timothy 5:20; Hebrews

12:12, 13; James 5:14, 15; Jude 21-23; for a general discussion of the Scripturally­

based process elders followed and considered when they became aware of

allegations of serious sin during the relevant time-period. WTNY is unaware of any

other "policies and procedures" responsive to this Interrogatory subpart.

         (3)    All elders, including traveling overseers, endeavored to use God's

Word to provide comfort and support for victims of child abuse. Such Scriptures that

may be used included Job 34:22-28; Psalm 62:8; Isaiah 41:10, 13; Isaiah 32:1, 2; 1

Corinthians 13:4, 5; and 1 John 3:19, 20, among others. WTNY is unaware of any

other "policies and procedures" responsive to this Interrogatory subpart.

         FIRST SUPPLEMENTAL ANSWER (October 23, 2023): Prior to 1985,

WTNY provided no specific direction regarding the reporting of child sexual abuse.



 Defendant Watchtower Bible and Tract Society of New York, lnc.'s First Supplemental Responses to Plaintiffs'
  Second Set of Combined Interrogatories, Requests for Production, and Requests for Admission, and Second
                            Supplemental Responses to Plaintiffs' Third Set• 8
     Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 8 of 10



Beginning in 1985, WTNY informed traveling overseers to direct elders to contact

WTNY if the elders learned of allegations of child sexual abuse.

       INTERROGATORY NO. 18: For each year between 1973 and 1995, please

describe all policies and procedures applicable to elders regarding: (1) reporting

allegations of child sexual abuse involving congregation members; (2) "direction

regarding judicial matters" that involve allegations of child sexual abuse; and (3)

encouraging and consoling victims of child sexual abuse.

       ANSWER (September 7, 2022):                             See Objections and Answer to

Interrogatory No. 17.

       FIRST SUPPLEMENTAL ANSWER (October 23, 2023): Prior to July,

1989, WTNY provided no specific direction in regards to the reporting of child

sexual abuse to congregation elders. Post July 1, 1989, congregation elders were

directed to contact WTNY's Legal Department.

       REQUEST FOR PRODUCTION NO. 18: Please produce all S2 forms that

pertain to any person who is, or was, a member, ministerial servant, elder, or

otherwise affiliated with the Hardin Congregation.

       RESPONSE (June 16, 2022): After a diligent search, WTNY has been

unable to locate any information responsive to this request.




 Defendant Watchtower Bible and Tract Society of New York, Inc.'s First Supplemental Responses to Plaintiffs'
  Second Set of Combined Interrogatories, Requests for Production, and Requests for Admission, and Second
                             Supplemental Responses to Plaintiffs' Third Set - 9
Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 9 of 10
Case 1:20-cv-00052-SPW Document 366-11 Filed 04/19/24 Page 10 of 10
